                   Case 07-11103                         Doc 1     Filed 06/21/07 Entered 06/21/07 14:27:46                                              Desc Main
Official Form 1 (4/07)                                               Document     Page 1 of 48
                                        United States Bankruptcy Court
                                                  Northern District of Illinois                                                                      Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  Ibarra, Joseph R.                                                                                 Ibarra, Roberta L.


All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                      (include married, maiden, and trade names):
                                                                                                    AKA Roberta L. Davidson-Ibarra; AKA Bobbie Davidson;
                                                                                                    AKA Bobbie Ibarra


Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-4945                                                                                       xxx-xx-9529
Street Address of Debtor (No. and Street, City, and State):                                      Street Address of Joint Debtor (No. and Street, City, and State):
  716 N. Walnut Street                                                                              716 N. Walnut Street
  Itasca, IL                                                                                        Itasca, IL
                                                                                ZIP Code                                                                                    ZIP Code
                                                                            60143-1452                                                                                   60143-1452
County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
  Dupage                                                                                            Dupage
Mailing Address of Debtor (if different from street address):                                    Mailing Address of Joint Debtor (if different from street address):


                                                                                ZIP Code                                                                                    ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                   Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                 (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                            Health Care Business                           Chapter 7
                                                             Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                      in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                   Chapter 11
                                                             Railroad
                                                                                                            Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                       Stockbroker
                                                                                                            Chapter 13                       of a Foreign Nonmain Proceeding
                                                             Commodity Broker
    Partnership
                                                             Clearing Bank
    Other (If debtor is not one of the above entities,       Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                      (Check one box)
                                                                   Tax-Exempt Entity
                                                                  (Check box, if applicable)                Debts are primarily consumer debts,                 Debts are primarily
                                                             Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                    business debts.
                                                             under Title 26 of the United States            "incurred by an individual primarily for
                                                             Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                        Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                        Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                 Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                        to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                      A plan is being filed with this petition.
                                                                                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                        classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-        1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999         5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to                $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                  $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to                $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                  $1 million               $100 million              $100 million
                 Case 07-11103                Doc 1         Filed 06/21/07 Entered 06/21/07 14:27:46                                         Desc Main
Official Form 1 (4/07)                                        Document     Page 2 of 48                                                                   FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Ibarra, Joseph R.
(This page must be completed and filed in every case)                                  Ibarra, Roberta L.
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: U.S. Bankruptcy Court, N.D. Illinois                   99-27823                              9/08/99
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                    Exhibit A                                                                                  Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Xiaoming Wu ARDC No.                                 June 13, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Xiaoming Wu ARDC No. 6274335

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                             (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                    (Name of landlord that obtained judgment)




                                    (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
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Official Form 1 (4/07)                                    Document     Page 3 of 48                                                 FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Ibarra, Joseph R.
(This page must be completed and filed in every case)                                Ibarra, Roberta L.
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Joseph R. Ibarra                                                            Printed Name of Foreign Representative
     Signature of Debtor Joseph R. Ibarra
                                                                                      Date
 X    /s/ Roberta L. Ibarra
     Signature of Joint Debtor Roberta L. Ibarra                                         Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     June 13, 2007                                                                    copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Xiaoming Wu ARDC No.                                                        amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Xiaoming Wu ARDC No. 6274335
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      LEDFORD & WU
     Firm Name
      200 S. Michigan Avenue, Suite 209                                               Social Security number (If the bankrutpcy petition preparer is not
      Chicago, IL 60604-2406                                                          an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

                             Email: notice@ledfordwu.com
      (312) 294-4400 Fax: (312) 294-4410
     Telephone Number
                                                                                      Address
     June 13, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                             Case No.
                                                                                             Debtor(s)     Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Joseph R. Ibarra
                                                   Joseph R. Ibarra
 Date:         June 13, 2007




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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                             Case No.
                                                                                             Debtor(s)     Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Roberta L. Ibarra
                                                   Roberta L. Ibarra
 Date:         June 13, 2007




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Form 6-Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                            Northern District of Illinois
  In re          Joseph R. Ibarra,                                                                                    Case No.
                 Roberta L. Ibarra
                                                                                                                ,
                                                                                               Debtors                Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  500,000.00


B - Personal Property                                             Yes                 4                   33,333.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                         468,698.00


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 8                                         147,719.46
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                3,125.82
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                3,700.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            21


                                                                                Total Assets             533,333.00


                                                                                                 Total Liabilities              616,417.46




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Official Form 6 - Statistical Summary (10/06)



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                                                                  United States Bankruptcy Court
                                                                            Northern District of Illinois
  In re            Joseph R. Ibarra,                                                                                     Case No.
                   Roberta L. Ibarra
                                                                                                              ,
                                                                                           Debtors                       Chapter               7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                    report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                      Amount

              Domestic Support Obligations (from Schedule E)                                                          0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                      0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E)
                                                                                                                      0.00

              Student Loan Obligations (from Schedule F)                                                              0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                      0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                      0.00

                                                                                  TOTAL                               0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                           3,125.82

              Average Expenses (from Schedule J, Line 18)                                                         3,700.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                                0.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                            0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                      0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                                147,719.46

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            147,719.46




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Form B6A
(10/05)


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  In re          Joseph R. Ibarra,                                                                                  Case No.
                 Roberta L. Ibarra
                                                                                                        ,
                                                                                          Debtors
                                                                 SCHEDULE A. REAL PROPERTY
      Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column
labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."
      Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."
      If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                        Husband,     Current Value of
                                                                                Nature of Debtor's       Wife,      Debtor's Interest in          Amount of
                 Description and Location of Property                           Interest in Property                 Property, without
                                                                                                         Joint, or Deducting                     Secured Claim
                                                                                                       Community             any Secured
                                                                                                                    Claim or Exemption

Residence (Single Family)                                                       Joint tenant                J                  500,000.00               461,388.00
Location: 716 N. Walnut Street, Itasca IL




                                                                                                        Sub-Total >            500,000.00       (Total of this page)

                                                                                                                Total >        500,000.00
  0     continuation sheets attached to the Schedule of Real Property                                   (Report also on Summary of Schedules)
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  In re          Joseph R. Ibarra,                                                                                      Case No.
                 Roberta L. Ibarra
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
  Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child."
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Misc. Cash on Hand                                                J                              0.00

2.     Checking, savings or other financial                      Itasca Bank - Checking Account                                    J                              0.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        LaSalle Bank - Chrporate Checking Account                         J                           658.00
       thrift, building and loan, and
       homestead associations, or credit                         LaSalle Bank - Corporarte Checking Account                        J                        3,000.00
       unions, brokerage houses, or                              (Escrow Account)
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Misc. Household Goods: Sofa, Loveseat,                            J                        5,000.00
       including audio, video, and                               Entetertainment Center, (3) Televisions, VCR, DVD
       computer equipment.                                       Player, Coffee Table, End Tables, Dining
                                                                 Table/Chairs, China Cabinet, Refrigerator, Freezer,
                                                                 Stove, Microwave, Dishwasher, Washer/Dryer,
                                                                 Pots/Pans, Dishes/Flatware, Vacuum, Coffe Maker,
                                                                 (3) Bedroom Sets, Personal Computer, Desk, Chair,
                                                                 Stereo, Lamps, Telephone, Lawnmower, Snow
                                                                 Blower, Misc. Hand Tools

5.     Books, pictures and other art                             Misc. Books, Pictures, CDs, DVDs                                  J                           300.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Used Personal Clothing                                            J                           750.00

7.     Furs and jewelry.                                         Wedding Rings, Diamond Ring                                       J                        1,500.00

8.     Firearms and sports, photographic,                        Camera                                                            J                            50.00
       and other hobby equipment.

9.     Interests in insurance policies.                          $10,000 Whole Life Insurance Policy - $800 Cash                   H                           800.00
       Name insurance company of each                            Surrender Value (Spouse is the beneficiary)
       policy and itemize surrender or
       refund value of each.



                                                                                                                                   Sub-Total >          12,058.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          Joseph R. Ibarra,                                                                                      Case No.
                 Roberta L. Ibarra
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                          50% Owner of Davidson Realty, Inc. (Realty                        W                              0.00
    and unincorporated businesses.                               Executives Choice)
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owing debtor                      X
    including tax refunds. Give
    particulars.

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Joseph R. Ibarra,                                                                                      Case No.
                 Roberta L. Ibarra
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                              Real Estate Broker License                                        W                              0.00
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2004 Chevrolet Silverado (28,000 Miles)                           W                      14,875.00
    other vehicles and accessories.
                                                                 1997 Mercury Grand Marquis (26,000 Miles)                         W                        3,400.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           Personal Computers, Printers, Desks, Chairs                       W                        3,000.00
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X




                                                                                                                                   Sub-Total >          21,275.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Joseph R. Ibarra,                                                                                      Case No.
                 Roberta L. Ibarra
                                                                                                            ,
                                                                                           Debtors
                                                           SCHEDULE B. PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         33,333.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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   In re          Joseph R. Ibarra,                                                                                      Case No.
                  Roberta L. Ibarra
                                                                                                                ,
                                                                                               Debtors
                                               SCHEDULE C. PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Real Property
Residence (Single Family)                                                        735 ILCS 5/12-901                                 30,000.00               500,000.00
Location: 716 N. Walnut Street, Itasca IL

Household Goods and Furnishings
Misc. Household Goods: Sofa, Loveseat,                                           735 ILCS 5/12-1001(b)                              5,000.00                  5,000.00
Entetertainment Center, (3) Televisions, VCR,
DVD Player, Coffee Table, End Tables, Dining
Table/Chairs, China Cabinet, Refrigerator,
Freezer, Stove, Microwave, Dishwasher,
Washer/Dryer, Pots/Pans, Dishes/Flatware,
Vacuum, Coffe Maker, (3) Bedroom Sets,
Personal Computer, Desk, Chair, Stereo,
Lamps, Telephone, Lawnmower, Snow Blower,
Misc. Hand Tools

Wearing Apparel
Used Personal Clothing                                                           735 ILCS 5/12-1001(a)                                750.00                     750.00

Furs and Jewelry
Wedding Rings, Diamond Ring                                                      735 ILCS 5/12-1001(a)                              1,500.00                  1,500.00

Interests in Insurance Policies
$10,000 Whole Life Insurance Policy - $800                                       735 ILCS 5/12-1001(f)                                800.00                     800.00
Cash Surrender Value (Spouse is the
beneficiary)

Automobiles, Trucks, Trailers, and Other Vehicles
2004 Chevrolet Silverado (28,000 Miles)                                          735 ILCS 5/12-1001(b)                              3,000.00                 14,875.00

1997 Mercury Grand Marquis (26,000 Miles)                                        735 ILCS 5/12-1001(c)                              2,400.00                  3,400.00

Office Equipment, Furnishings and Supplies
Personal Computers, Printers, Desks, Chairs                                      735 ILCS 5/12-1001(d)                              1,500.00                  3,000.00




                                                                                                                Total:             44,950.00               529,325.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re           Joseph R. Ibarra,                                                                                               Case No.
                   Roberta L. Ibarra
                                                                                                                      ,
                                                                                                     Debtors
                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s
 name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P.
 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                         I    Q   U                      PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                        N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. xxxxxxxxxx4508                                              2005                                                        E
                                                                                                                                    D

Chase Auto Finance                                                      Purchase Money Security
PO Box 9001083
Louisville, KY 40290-1083                                               2004 Chevrolet Silverado (28,000 Miles)
                                                                    J

                                                                         Value $                               14,875.00                          7,310.00                   0.00
Account No.
                                                                         Chase Auto Finance
Representing:                                                            900 Stewart Ave.
Chase Auto Finance                                                       Garden City, NY 11530



                                                                         Value $
Account No. xx-xx-xxx-xxx-0000                                          2005-2006

DuPage County Collector                                                 Statutory Lien - NOTICE ONLY
PO Box 787
Wheaton, IL 60189-0787                                                Residence (Single Family)
                                                                    J Location: 716 N. Walnut Street, Itasca IL

                                                                         Value $                           500,000.00                                 0.00                   0.00
Account No. xxxxxxxxx1524                                               Opened 3/01/05 Last Active 8/01/06

Home Loan Services Inc.                                                 Mortgage
150 Allegheny Center Mall Drive
Pittsburgh, PA 15212                                                  Residence (Single Family)
                                                                    W Location: 716 N. Walnut Street, Itasca IL

                                                                         Value $                           500,000.00                           369,000.00                   0.00
                                                                                                                            Subtotal
 1
_____ continuation sheets attached                                                                                                              376,310.00                   0.00
                                                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                            Case No.
                    Roberta L. Ibarra
                                                                                                                    ,
                                                                                                     Debtors

                                      SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                                T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                                                                                       E
                                                                         First Franklin Loan Services                             D

Representing:                                                            PO Box 1838
Home Loan Services Inc.                                                  Pittsburgh, PA 15230



                                                                         Value $
Account No.
                                                                         Pierce & Associates
Representing:                                                            1 N. Dearborn
Home Loan Services Inc.                                                  Suite 1300
                                                                         Chicago, IL 60602


                                                                         Value $
Account No. xxxxxxxxx1525                                               Opened 3/01/05 Last Active 9/01/06

Home Loan Services Inc.                                                 Second Mortgage
150 Allegheny Center Mall Drive
Pittsburgh, PA 15212                                                  Residence (Single Family)
                                                                    W Location: 716 N. Walnut Street, Itasca IL

                                                                         Value $                           500,000.00                          92,388.00                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                               92,388.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                             Total            468,698.00                   0.00
                                                                                                   (Report on Summary of Schedules)

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  In re           Joseph R. Ibarra,                                                                                       Case No.
                  Roberta L. Ibarra
                                                                                                              ,
                                                                                           Debtors
                          SCHEDULE E. CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also
     include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
     chapter 7 or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case
     under chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative of
     such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a trust
     or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not delivered
     provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or another
     substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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   In re           Joseph R. Ibarra,                                                                                          Case No.
                   Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors

                  SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do not disclose the
 child’s name. See 11 U.S.C. § 112. If "a minor child" is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R.
 Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain
 Liabilities and Related Data.

       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,                                           E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                  AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
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                    (See instructions above.)                                    R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. xxxx-xxxx-xxxx-9943                                                          Credit card purchases                               T   T
                                                                                                                                                 E
                                                                                                                                                 D

Advanta Bank Corp.
PO Box 30715                                                                         J
Salt Lake City, UT 84130

                                                                                                                                                                       12,130.71
Account No. xxxxxxxxxxxxxx5323                                                           Opened 9/01/88 Last Active 9/01/06
                                                                                         Credit card purchases
American Express
PO Box 297871                                                                        J
Fort Lauderdale, FL 33329

                                                                                                                                                                         8,275.00
Account No.                                                                              American Express
                                                                                         General Counsels Office
Representing:                                                                            3200 Commerce Parkway MD 1901-06
American Express                                                                         Marrimar, FL 33025




Account No. xxxxxxxx8312                                                                 Opened 10/04/04 Last Active 9/20/06
                                                                                         Credit card purchases
Capital One Bank
15000 Capital One Drive                                                              H
Richmond, VA 23238-1119

                                                                                                                                                                         1,398.00

                                                                                                                                           Subtotal
 7
_____ continuation sheets attached                                                                                                                                     21,803.71
                                                                                                                                 (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
                  AND MAILING ADDRESS                                            D   H                                                       N   L   S
                   INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Capital One Bank                                        E
                                                                                         c/o TSYS Debt Management                                D
Representing:
Capital One Bank                                                                         PO Box 5155
                                                                                         Norcross, GA 30091




Account No. xxxxxxxx1572                                                                 Opened 10/29/99 Last Active 9/07/06
                                                                                         Credit card purchases
Capital One Bank
15000 Capital One Drive                                                              H
Richmond, VA 23238-1119

                                                                                                                                                                        954.00
Account No. xxxxxxxx5938                                                                 Opened 3/01/75 Last Active 8/14/06
                                                                                         Credit card purchases
CBUSA Sears
PO Box 6189                                                                          H
Sioux Falls, SD 57117

                                                                                                                                                                      6,737.00
Account No.                                                                              Northland Group
                                                                                         PO Box 390846
Representing:                                                                            Edina, MN 55439
CBUSA Sears




Account No.                                                                              Sears
                                                                                         PO Box 20363
Representing:                                                                            Kansas City, MO 64195-0363
CBUSA Sears




           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      7,691.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
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                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Sears                                                   E
                                                                                         PO Box 182149                                           D
Representing:
CBUSA Sears                                                                              Columbus, OH 43218-2149




Account No. xxxxx8230                                                                    Opened 8/15/97 Last Active 12/13/06
                                                                                         Credit card purchases
Citgo Oil / Citibank
PO Box 6003                                                                          H
Hagerstown, MD 21747

                                                                                                                                                                      1,953.00
Account No.                                                                              Citibank
                                                                                         Citicorp Credit Services, Inc.
Representing:                                                                            7920 NW 110th Street
Citgo Oil / Citibank                                                                     Kansas City, MO 64153




Account No. xxxx1101                                                                     Opened 4/02/07 Last Active 5/01/07
                                                                                         Collection for Washington Mutual / Providian
CreditMax Recoveries LLC
625 N. Flagler Drive, Suite 625                                                      H
West Palm Beach, FL 33401

                                                                                                                                                                      9,369.00
Account No.                                                                              Washington Mutual / Providian
                                                                                         PO Box 660509
Representing:                                                                            Dallas, TX 75266
CreditMax Recoveries LLC




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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    11,322.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




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                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
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Account No.                                                                              Washington Mutual / Providian                           E
                                                                                         Attn: Bankruptcy Department                             D
Representing:
CreditMax Recoveries LLC                                                                 PO Box 10467
                                                                                         Greenville, SC 29603




Account No.                                                                              Washington Mutual / Providian
                                                                                         PO Box 99604
Representing:
                                                                                         Arlington, TX 76096-9604
CreditMax Recoveries LLC




Account No. xxxxxxxx3018                                                                 Opened 7/21/99 Last Active 9/20/06
                                                                                         Credit card purchases
Discover Financial
PO Box 15316                                                                         H
Wilmington, DE 19850

                                                                                                                                                                      2,515.00
Account No.                                                                              Discover
                                                                                         PO Box 3025
Representing:                                                                            New Albany, OH 43054
Discover Financial




Account No.                                                                              Lawsuit
                                                                                         Case No. 06 CH 000083
Donald J. Markay
c/o Kupisch & Carbon, Ltd.                                                           J                                                               X
201 N. Church Road
Bensenville, IL 60106
                                                                                                                                                                    40,000.00

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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    42,515.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




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                    (See instructions above.)                                    R                                                           E   D   D
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Account No.                                                                              M.D. Trust                                              E
                                                                                         c/o Kupisch & Carbon, Ltd.                              D
Representing:
Donald J. Markay                                                                         201 N. Church Road
                                                                                         Bensenville, IL 60106




Account No. xxxxxxxx2259                                                                 Opened 6/11/03 Last Active 9/19/06
                                                                                         Credit card purchases
GEMB / Lowes DC
PO Box 981416                                                                        W
El Paso, TX 79998

                                                                                                                                                                      2,667.00
Account No.                                                                              GEMB / Lowes
                                                                                         PO Box 981064
Representing:                                                                            El Paso, TX 79998-1064
GEMB / Lowes DC




Account No.                                                                              8/2206
                                                                                         Loan
Gene Damaso
307 S. 45th                                                                          J
North Lake, IL 60164

                                                                                                                                                                    14,000.00
Account No. x5333                                                                        Advertisement

Home Pages
American Marketing & Publishing LLC                                              X J
PO Box 801
Dekalb, IL 60115
                                                                                                                                                                        809.20

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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
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                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxx5772                                                             Opened 1/02/04 Last Active 9/21/06                      E
                                                                                         Credit card purchases                                   D

HSBC Card Services
Attn: Bankruptcy                                                                     W
PO Box 5213
Carol Stream, IL 60197
                                                                                                                                                                      1,922.00
Account No. xxxx-xxxx-xxxx-4773                                                          Credit card purchases

HSBC Card Services
Attn: Bankruptcy                                                                     J
PO Box 5213
Carol Stream, IL 60197
                                                                                                                                                                      5,416.88
Account No.                                                                              Tsys Total Debt Management Inc
                                                                                         PO Box 6700
Representing:                                                                            Norcross, GA 30091-6700
HSBC Card Services




Account No. xxxxxxxx5952                                                                 Opened 12/08/94 Last Active 10/03/06
                                                                                         Credit card purchases
Kohl's
N 56 W 17000 Ridgewood Dr.                                                           H
Menomonee Falls, WI 53051

                                                                                                                                                                      2,599.00
Account No.                                                                              Legal Fees

Law Offices of Thomas Glasgow, Ltd.
1834 Walden Office Square, Ste 500                                                   J
Schaumburg, IL 60173

                                                                                                                                                                    12,765.09

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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    22,702.97
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                         Case No.
                    Roberta L. Ibarra
                                                                                                                          ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                            O                                                           O   N   I
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                    (See instructions above.)                                    R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xx8009                                                                       Opened 12/01/92 Last Active 4/01/07                     E
                                                                                         Utility - NOTICE ONLY                                   D

Nicor
Attention: Bankruptcy & Collections                                                  H
PO Box 549
Aurora, IL 60507
                                                                                                                                                                           0.00
Account No.                                                                              Nicor Gas
                                                                                         PO Box 2020
Representing:
                                                                                         Aurora, IL 60507
Nicor




Account No. xxx5001                                                                      Goods or Services

Quill Corporation
100 Schelter Rd.                                                                     J
Lincolnshire, IL 60069-3602

                                                                                                                                                                        400.00
Account No.                                                                              RMS
                                                                                         55 Shuman Road
Representing:                                                                            P.O. Box 3099
Quill Corporation                                                                        Naperville, IL 60566-7099




Account No.                                                                              Franchise Fees

Realty Executives of Illinois
800 Enterproise Drive, Suite 128                                                 X J
Oak Brook, IL 60523

                                                                                                                                                                    19,170.58

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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                    Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re            Joseph R. Ibarra,                                                                                               Case No.
                    Roberta L. Ibarra
                                                                                                                           ,
                                                                                                        Debtors
                   SCHEDULE F. CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                            O                                                                  O   N   I
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                    (See instructions above.)                                    R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                              Medical or Dental Services                                     E
                                                                                                                                                        D

Suburban Associates in
Ophthalmolog                                                                         J
1100 W. Central Rd., Ste. 205
Arlington Heights, IL 60005
                                                                                                                                                                               132.00
Account No. xxxxx7006                                                                    Opened 11/19/98 Last Active 12/29/06
                                                                                         Credit card purchases
Target National Bank
PO Box 673                                                                           W
Minneapolis, MN 55440

                                                                                                                                                                               757.00
Account No.                                                                              Target National Bank
                                                                                         PO Box 1327
Representing:                                                                            Mail Stop 3CK
Target National Bank                                                                     Minneapolis, MN 55440




Account No. xxxxxx9073                                                                   Opened 9/08/00 Last Active 8/25/06
                                                                                         Credit card purchases
Washington Mutual / Providian
Attn: Bankruptcy Department                                                          W
PO Box 10467
Greenville, SC 29603
                                                                                                                                                                             3,749.00
Account No.




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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             4,638.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
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  In re             Joseph R. Ibarra,                                                                            Case No.
                    Roberta L. Ibarra
                                                                                                      ,
                                                                                      Debtors
                         SCHEDULE G. EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed.R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                            State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                  State contract number of any government contract.




       0         continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases

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  In re          Joseph R. Ibarra,                                                                          Case No.
                 Roberta L. Ibarra
                                                                                                    ,
                                                                                      Debtors
                                                                       SCHEDULE H. CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     indicate that by stating "a minor child" and do not disclose the child's name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR

                  Ron Davidson                                                           Home Pages
                  374 Ferndale Ct., # D2                                                 American Marketing & Publishing LLC
                  Schaumburg, IL 60193                                                   PO Box 801
                                                                                         Dekalb, IL 60115

                  Ron Davidson                                                           Realty Executives of Illinois
                  374 Ferndale Ct., # D2                                                 800 Enterproise Drive, Suite 128
                  Schaumburg, IL 60193                                                   Oak Brook, IL 60523




       0       continuation sheets attached to Schedule of Codebtors

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              Joseph R. Ibarra
  In re       Roberta L. Ibarra                                                                          Case No.
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Married                                None.

 Employment:                                           DEBTOR                                                       SPOUSE
 Occupation                           Maintenence                                               Real Estate Agent
 Name of Employer                     Emerald Village                                           Self Employed
 How long employed                    5 Years                                                   2 Years
 Address of Employer                  155 N. Michigan Avenue, Suite 600
                                      Chicago, IL 60601
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $         2,253.33      $             0.00
 2. Estimate monthly overtime                                                                             $             0.00      $             0.00

 3. SUBTOTAL                                                                                              $         2,253.33      $             0.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $             366.51    $             0.00
     b. Insurance                                                                                         $               0.00    $             0.00
     c. Union dues                                                                                        $               0.00    $             0.00
     d. Other (Specify):                                                                                  $               0.00    $             0.00
                                                                                                          $               0.00    $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             366.51    $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,886.82      $             0.00

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00    $             0.00
 8. Income from real property                                                                             $               0.00    $             0.00
 9. Interest and dividends                                                                                $               0.00    $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $               0.00    $             0.00
 11. Social security or government assistance
 (Specify):         Social Security Income                                                                $         1,239.00      $             0.00
                                                                                                          $             0.00      $             0.00
 12. Pension or retirement income                                                                         $             0.00      $             0.00
 13. Other monthly income
 (Specify):                                                                                               $               0.00    $             0.00
                                                                                                          $               0.00    $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $         1,239.00      $             0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,125.82      $             0.00

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            3,125.82
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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            Joseph R. Ibarra
 In re      Roberta L. Ibarra                                                                 Case No.
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,200.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   250.00
                   b. Water and sewer                                                                       $                    30.00
                   c. Telephone                                                                             $                   205.00
                   d. Other                                                                                 $                     0.00
3. Home maintenance (repairs and upkeep)                                                                    $                     0.00
4. Food                                                                                                     $                   450.00
5. Clothing                                                                                                 $                    50.00
6. Laundry and dry cleaning                                                                                 $                    25.00
7. Medical and dental expenses                                                                              $                    50.00
8. Transportation (not including car payments)                                                              $                   400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                    45.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                   100.00
                   c. Health                                                                                $                   275.00
                   d. Auto                                                                                  $                    85.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   435.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
                   d. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Auto Repairs / Maintenence                                                                        $                    50.00
    Other Haircuts / Personal Care                                                                          $                    50.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 3,700.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,125.82
b. Average monthly expenses from Line 18 above                                                              $                 3,700.00
c. Monthly net income (a. minus b.)                                                                         $                  -574.18
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                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                                       Case No.
                                                                                             Debtor(s)               Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                23  sheets [total shown on summary page plus 2], and that they are true and correct to the best of my
             knowledge, information, and belief.




 Date June 13, 2007                                                             Signature    /s/ Joseph R. Ibarra
                                                                                             Joseph R. Ibarra
                                                                                             Debtor


 Date June 13, 2007                                                             Signature    /s/ Roberta L. Ibarra
                                                                                             Roberta L. Ibarra
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                                    Case No.
                                                                                             Debtor(s)            Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments,
transfers and the like to minor children by stating "a minor child." See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

                  1. Income from employment or operation of business

    None          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                  business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                  year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                  calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                  report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                  each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                  petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $11,616.00                               Husband's Year to date Income from Employment
                           $26,923.50                               Husband's 2006 Income from Employment
                           $26,923.00                               Husband's 2005 Income from Employment
                           $6,388.00                                Wife's Year to date Income from Employment
                           $31,868.00                               Wife's 2006 Income from Employment
                           $77,261.00                               Wife's 2005 Income from Employment




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                                                                                                                                                               2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $6,195.00                                Husband's Year to date Social Security Income
                           $15,470.00                               Husband's 2006 Social Security Income
                           $14,959.50                               Husband's 2005 Social Security Income

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all
               property that constitutes or is affected by such transfer is not less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                                AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                           AMOUNT PAID            OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such
               transfer is not less than $5,475. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                           AMOUNT
                                                                                   DATES OF                                 PAID OR
                                                                                   PAYMENTS/                              VALUE OF         AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                             TRANSFERS           OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                          AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                    AMOUNT PAID            OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                 STATUS OR
 AND CASE NUMBER              NATURE OF PROCEEDING                                           AND LOCATION                    DISPOSITION
 Wells Fargo Bank NA et al v. Foreclosure                                                    In the Circuit Court of the     Pending
 Roberta L. Davidson-Ibarra                                                                  18th Judicial Circuit, DuPage
 et al                                                                                       County, IL
 Case No. 07 CH 000306
 Donald J. Markey, et al v.                     Collection                                   In the Circuit Court of the     Pending
 Bobbie Davidson-Ibarra                                                                      18th Judicial Circuit, DuPage
 Case No. 06 CH 000083                                                                       County, IL




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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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                                                                                                                                                                4

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY
 LEDFORD & WU                                                                    05/2007                               $3,000.00
 200 S. Michigan Avenue, Suite 209
 Chicago, IL 60604-2406
 Greenpath Debt Solutions                                                        05/2007                               $50.00 Credit Counseling
 38505 Country Club Drive, Suite 210                                                                                   Bankruptcy Certificate
 Farmington, MI 48331

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                    DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                       AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                             AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF          VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)         IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                   DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                   OF CONTENTS                 SURRENDER, IF ANY




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               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                       LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                             DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                    DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                      NOTICE                   LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                    DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                      NOTICE                   LAW




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                                                                                                                                                               6
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                          STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                        LAST FOUR DIGITS
                                        OF SOC. SEC. NO./
                                        COMPLETE EIN OR
                                        OTHER TAXPAYER                                                                             BEGINNING AND
 NAME                                   I.D. NO.                         ADDRESS                   NATURE OF BUSINESS              ENDING DATES
 Davidson Realty                        EIN XX-XXXXXXX                   dba Realty Executives     Real estate broker              5/2/05 - present
                                                                         Choice
                                                                         1215 W. Irving Park Rd.
                                                                         Itasca, IL 60143

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED




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                                                                                                                                                                7
    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST
 Ron Davidson                                                                   Partner                                   50%
 374 Ferndale Ct., # D2
 Schaumburg, IL 60193

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY



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                                                                                                                                                                      8

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 13, 2007                                                             Signature    /s/ Joseph R. Ibarra
                                                                                             Joseph R. Ibarra
                                                                                             Debtor


 Date June 13, 2007                                                             Signature    /s/ Roberta L. Ibarra
                                                                                             Roberta L. Ibarra
                                                                                             Joint Debtor
                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                                             Case No.
                                                                                             Debtor(s)                     Chapter       7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
          I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
          I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
          I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                      Property will be   Debt will be
                                                                                                                     Property         redeemed           reaffirmed
                                                                                                    Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                   Creditor's Name                  Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 Residence (Single Family)                 DuPage County                                                    X
 Location: 716 N. Walnut Street, Itasca IL Collector
 Residence (Single Family)                 Home Loan Services                                               X
 Location: 716 N. Walnut Street, Itasca IL Inc.
 Residence (Single Family)                 Home Loan Services                                               X
 Location: 716 N. Walnut Street, Itasca IL Inc.
 2004 Chevrolet Silverado (28,000 Miles)                           Chase Auto Finance                                                                            X



                                                                                                    Lease will be
                                                                                                    assumed pursuant
 Description of Leased                                                                              to 11 U.S.C. §
 Property                                                          Lessor's Name                    362(h)(1)(A)
 -NONE-


 Date June 13, 2007                                                             Signature    /s/ Joseph R. Ibarra
                                                                                             Joseph R. Ibarra
                                                                                             Debtor


 Date June 13, 2007                                                             Signature    /s/ Roberta L. Ibarra
                                                                                             Roberta L. Ibarra
                                                                                             Joint Debtor




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             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                                         Case No.
                                                                                             Debtor(s)                 Chapter    7


                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                          $                  3,000.00
              Prior to the filing of this statement I have received                                                $                  3,000.00
              Balance Due                                                                                          $                      0.00

2.     The source of the compensation paid to me was:

                   Debtor                   Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                   Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; negotiation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods; motions for relief from stay.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any adversary proceedings; redemption; judicial lien avoidances in a Chapter 7
               case; hearings on reaffirmation agreements; conversion; post-discharge litigation; appeals; post-confirmation
               work in a Chapter 13 case unless the applicable Model Retention Agreement provides otherwise; in a Chapter 7
               case, amending a petition, list, schedule or statement postpetition not due to counsel's fault; and, in a Chapter 7
               case, attending additional creditors' meetings due to the debtor's failure to appear at the first meeting without a
               good reason and prior notice.
                                                                                     CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       June 13, 2007                                                                  /s/ Xiaoming Wu ARDC No.
                                                                                             Xiaoming Wu ARDC No. 6274335
                                                                                             LEDFORD & WU
                                                                                             200 S. Michigan Avenue, Suite 209
                                                                                             Chicago, IL 60604-2406
                                                                                             (312) 294-4400 Fax: (312) 294-4410
                                                                                             notice@ledfordwu.com




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                                                          UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF ILLINOIS

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Xiaoming Wu ARDC No. 6274335                                                                X /s/ Xiaoming Wu ARDC No.                June 13, 2007
Printed Name of Attorney                                                                       Signature of Attorney                   Date
Address:
200 S. Michigan Avenue, Suite 209
Chicago, IL 60604-2406
(312) 294-4400

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Joseph R. Ibarra
 Roberta L. Ibarra                                                                           X /s/ Joseph R. Ibarra                    June 13, 2007
 Printed Name of Debtor                                                                        Signature of Debtor                     Date

 Case No. (if known)                                                                         X /s/ Roberta L. Ibarra                   June 13, 2007
                                                                                               Signature of Joint Debtor (if any)      Date




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             Joseph R. Ibarra
 In re       Roberta L. Ibarra                                                                                     Case No.
                                                                                             Debtor(s)             Chapter    7




                                                        VERIFICATION OF CREDITOR MATRIX

                                                                                                   Number of Creditors:                                 41




             The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
             (our) knowledge.




 Date:      June 13, 2007                                                       /s/ Joseph R. Ibarra
                                                                                Joseph R. Ibarra
                                                                                Signature of Debtor

 Date:      June 13, 2007                                                       /s/ Roberta L. Ibarra
                                                                                Roberta L. Ibarra
                                                                                Signature of Debtor




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                      Advanta Bank Corp.
                      PO Box 30715
                      Salt Lake City, UT 84130


                      American Express
                      PO Box 297871
                      Fort Lauderdale, FL 33329


                      American Express
                      General Counsels Office
                      3200 Commerce Parkway MD 1901-06
                      Marrimar, FL 33025


                      Capital One Bank
                      15000 Capital One Drive
                      Richmond, VA 23238-1119


                      Capital One Bank
                      c/o TSYS Debt Management
                      PO Box 5155
                      Norcross, GA 30091


                      CBUSA Sears
                      PO Box 6189
                      Sioux Falls, SD 57117


                      Chase Auto Finance
                      PO Box 9001083
                      Louisville, KY 40290-1083


                      Chase Auto Finance
                      900 Stewart Ave.
                      Garden City, NY 11530


                      Citgo Oil / Citibank
                      PO Box 6003
                      Hagerstown, MD 21747


                      Citibank
                      Citicorp Credit Services, Inc.
                      7920 NW 110th Street
                      Kansas City, MO 64153
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                  CreditMax Recoveries LLC
                  625 N. Flagler Drive, Suite 625
                  West Palm Beach, FL 33401


                  Discover
                  PO Box 3025
                  New Albany, OH 43054


                  Discover Financial
                  PO Box 15316
                  Wilmington, DE 19850


                  Donald J. Markay
                  c/o Kupisch & Carbon, Ltd.
                  201 N. Church Road
                  Bensenville, IL 60106


                  DuPage County Collector
                  PO Box 787
                  Wheaton, IL 60189-0787


                  First Franklin Loan Services
                  PO Box 1838
                  Pittsburgh, PA 15230


                  GEMB / Lowes
                  PO Box 981064
                  El Paso, TX 79998-1064


                  GEMB / Lowes DC
                  PO Box 981416
                  El Paso, TX 79998


                  Gene Damaso
                  307 S. 45th
                  North Lake, IL 60164


                  Home Loan Services Inc.
                  150 Allegheny Center Mall Drive
                  Pittsburgh, PA 15212


                  Home Pages
                  American Marketing & Publishing LLC
                  PO Box 801
                  Dekalb, IL 60115
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                  HSBC Card Services
                  Attn: Bankruptcy
                  PO Box 5213
                  Carol Stream, IL 60197


                  Kohl's
                  N 56 W 17000 Ridgewood Dr.
                  Menomonee Falls, WI 53051


                  Law Offices of Thomas Glasgow, Ltd.
                  1834 Walden Office Square, Ste 500
                  Schaumburg, IL 60173


                  M.D. Trust
                  c/o Kupisch & Carbon, Ltd.
                  201 N. Church Road
                  Bensenville, IL 60106


                  Nicor
                  Attention: Bankruptcy & Collections
                  PO Box 549
                  Aurora, IL 60507


                  Nicor Gas
                  PO Box 2020
                  Aurora, IL 60507


                  Northland Group
                  PO Box 390846
                  Edina, MN 55439


                  Pierce & Associates
                  1 N. Dearborn
                  Suite 1300
                  Chicago, IL 60602


                  Quill Corporation
                  100 Schelter Rd.
                  Lincolnshire, IL 60069-3602


                  Realty Executives of Illinois
                  800 Enterproise Drive, Suite 128
                  Oak Brook, IL 60523
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                  RMS
                  55 Shuman Road
                  P.O. Box 3099
                  Naperville, IL 60566-7099


                  Sears
                  PO Box 20363
                  Kansas City, MO 64195-0363


                  Sears
                  PO Box 182149
                  Columbus, OH 43218-2149


                  Suburban Associates in Ophthalmolog
                  1100 W. Central Rd., Ste. 205
                  Arlington Heights, IL 60005


                  Target National Bank
                  PO Box 673
                  Minneapolis, MN 55440


                  Target National Bank
                  PO Box 1327
                  Mail Stop 3CK
                  Minneapolis, MN 55440


                  Tsys Total Debt Management Inc
                  PO Box 6700
                  Norcross, GA 30091-6700


                  Washington Mutual / Providian
                  Attn: Bankruptcy Department
                  PO Box 10467
                  Greenville, SC 29603


                  Washington Mutual / Providian
                  PO Box 660509
                  Dallas, TX 75266


                  Washington Mutual / Providian
                  PO Box 99604
                  Arlington, TX 76096-9604
